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                 EXHIBIT 1
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Lima, Kristin J. (Para-Bos-LT)

From:                Bryan, Emily (Assoc-Bos-LT)
Sent:                Sunday, June 14, 2020 1:24 PM
To:                  Thomas, David G. (Shld-Bos-LT); Keith J. Keogh
Cc:                  slemberg@lemberglaw.com
Subject:             RE: Breda/LiveVox Dialer Records, Schedule, etc.
Attachments:         25756678_v 1_102 -- Declaration of Laurence Siegel.PDF


Keith,

AttachedpleasefindthedeclarationreferencedinDave’semailbelowincaseyoudidnothaveithandy.Pleaseadvise
howyouwouldliketoproceed.

Best,
Emily

From:Thomas,DavidG.(ShldͲBosͲLT)
Sent:Thursday,June11,20201:24PM
To:KeithJ.Keogh<keith@keoghlaw.com>;Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Keith,

Itisconsistentwithourstipulationandourdiscussion.WecanonlyagreetowhatLiveVoxhastoldustheycando.We
arebasingtheproposedscheduleonthehistorywehavehadwithLiveVoxinthiscaseforyearsͲseetheir
declarations.Itisnotplugandplayasyoustate.Wearen'tmakingthisup.Ifyoupulloutofourstipulation,theone
wefiledwiththeCourtandindicatedthatbothpartiescametoanagreementtomakethisprocessmoreefficient,we
willobjecttoyouradditionaldiscoveryrequestsifyoupressthemnoworastheyaretotallyinconsistentwithwhatyou
toldtheCourtyouneededforyourexpertalongtimeago.InlightoftheCourt'sdenialofyourlastmotion,pullingout
ofthestipandengaginginmotionpracticedoesnotseemprudent.IfyouwantmoretimetoassesstheLiveVoxdatato
determineifyouneedmorediscovery,thatisfine.Ifyouwanttodomakethatdeterminationagainaftergetting
accountremarks,that'sfinetoo.Ifyouwanttoputinaclausethatwewillproducedialerdatasoonerifweareable,
that'sfinetoo,butwedon'twanttopickadatethatwewon'tbeabletomeetandhavetogobacktotheCourtagain
formoretime.Pleasesuggestnewdatesastoyourreviewanddeterminationaboutadditionaldiscoveryandmakeany
otherproposededitstothescheduleyouwantustoconsider.Thiswillbethemostefficientwayforyoutogetthedata
youwantandattheleastcostfortheparties.

Sincerely,

David


ͲͲͲͲͲͲͲͲOriginalmessageͲͲͲͲͲͲͲͲ
From:"KeithJ.Keogh"<keith@keoghlaw.com>
Date:6/11/201:04PM(GMTͲ05:00)
To:"Bryan,Emily(AssocͲBosͲLT)"<bryane@gtlaw.com>,"Thomas,DavidG.(ShldͲBosͲLT)"<ThomasDa@GTLAW.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.
                                                              1
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
Yourscheduleisnotwhatwediscussedoragreedto.

First,thereisnowayitwilltakeuntilAugustforLivevoxtoproducethedata.Thatisalsoinconsistentfromourcalllast
month.

Also,doyoureallythinkit’sreasonabletogiveusawhole7daystohaveanexpertanalyzethediscoverytodetermineif
weneedtomoveforwardwiththeadditionaldiscovery?

Alongthatline,howcanwedetermineifweneedthediscoveryifyouwon’tevenproducetheaccountremarksfortwo
monthsafteryouproducethedialerrecords.Inaddition,thisisinconsistentwiththestipulationthatyouwouldbe
producingitwiththedialerrecords.

ItseemstomethatweshouldjustmoveforwardwithdiscoveryandI’llsubpoenaLivevoxforthedialerrecords.They
canexplaintothejudgewhyitwilltakesolongwhenIhavenumerousdepositionswherecompaniestestifythatLivevox
canproducedialerreportswithindaysandLiveVoxhasrepeatedlytoldmethatthereisnoneedtosubpoenaitasits
clientshaveaccesstothedialrecordsviaLiveVox’sportal.Ialsohaveexamplesfromthosecasesillustratinghowlongit
tooktoproducedialerrecordsonceordered.

WeshouldalsosetVerizon’sdepositionasthatwillmakemuchofthedatabaseissuesclearer.

Sopleaseadviseonadateyouwillcomplywiththeoutstandingdiscoveryandadatefordeposition.

Oncewehavethosedates,wecanfileareportwiththecourtsettingforthaschedule.




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312.726.1093 (Fax)
Keith@KeoghLaw.com
www.KeoghLaw.com


From:bryane@gtlaw.com<bryane@gtlaw.com>
Sent:Thursday,June11,20209:32AM
To:KeithJ.Keogh<keith@keoghlaw.com>;ThomasDa@GTLAW.com
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Keith,

Pleaseletusknowifyouhaveanycommentsontheattachedproposal.

Thanks,
Emily

From:Bryan,Emily(AssocͲBosͲLT)
Sent:Wednesday,June10,202012:22PM
                                                               2
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To:'KeithJ.Keogh'<keith@keoghlaw.com>;Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

HiKeith,

WehavebeenworkingwithLiveVoxtogetabettersenseoftiming.Ourexpectationisthatwewillhaveaproposed
scheduletoyouthisafternoonorearlytomorrow.

Thanks,
Emily

From:KeithJ.Keogh<keith@keoghlaw.com>
Sent:Wednesday,June10,202012:01PM
To:Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>;Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Hello

Justfollowinguponthis.Justletmeknow.




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Keith@KeoghLaw.com
www.KeoghLaw.com


From:KeithJ.Keogh
Sent:Friday,June5,202010:56AM
To:ThomasDa@GTLAW.com;bryane@gtlaw.com
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Doyouhaveanupdatesowecanadvisethecourtondates?





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                                                            3
                Case 1:16-cv-11512-DJC Document 157-1 Filed 06/17/20 Page 5 of 17
Keith@KeoghLaw.com
www.KeoghLaw.com


From:ThomasDa@GTLAW.com<ThomasDa@GTLAW.com>
Sent:Friday,May29,20208:15AM
To:KeithJ.Keogh<keith@keoghlaw.com>;bryane@gtlaw.com
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

ThanksKeith.Willdo.

From:KeithJ.Keogh<keith@keoghlaw.com>
Sent:Friday,May29,20208:58AM
To:Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>;Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>
Cc:slemberg@lemberglaw.com
Subject:Re:Breda/LiveVoxDialerRecords,Schedule,etc.

Youhavemyconsenttofile.Thanks.

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Keith@KeoghLaw.com
www.KeoghLaw.com


From: "ThomasDa@GTLAW.com" <ThomasDa@GTLAW.com>
Date: Friday, May 29, 2020 at 7:54 AM
To: "bryane@gtlaw.com" <bryane@gtlaw.com>, Keith Keogh <keith@keoghlaw.com>
Cc: Sergei Lemberg <slemberg@lemberglaw.com>
Subject: RE: Breda/LiveVox Dialer Records, Schedule, etc.




Keith–dowehaveyourassenttosignthestipulationandjointmotionsothatwecangetthisonfiletoday?Would
ratherhavea“May”filingthana“June”filing–justopticsIsupposed.

From:Bryan,Emily(AssocͲBosͲLT)
Sent:Thursday,May28,20207:30PM
                                                             4
                Case 1:16-cv-11512-DJC Document 157-1 Filed 06/17/20 Page 6 of 17
To:KeithJ.Keogh<keith@keoghlaw.com>;Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Thanks,Keith.NoneoftheDistrictofMassstandingordersregardingcoronavirusextendthedeadlinesincivilcases
generally.

Doyouhaveanyfurthercommentsonthestipulation?Ifnot,wewillgetthejointmotionandproposedstipulationon
filetomorrow.

Thanks,
Emily

From:KeithJ.Keogh<keith@keoghlaw.com>
Sent:Thursday,May28,20203:02PM
To:Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>;Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Itsfine,butcanyoureferenceanylocalcourtCovidOrdersreextensionstosupportit?




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Keith@KeoghLaw.com
www.KeoghLaw.com


From:bryane@gtlaw.com<bryane@gtlaw.com>
Sent:Wednesday,May27,202010:22AM
To:ThomasDa@GTLAW.com;KeithJ.Keogh<keith@keoghlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Keith,

Aproposedjointmotionisattachedforreview.

Best,
Emily

From:Thomas,DavidG.(ShldͲBosͲLT)
Sent:Wednesday,May27,202011:15AM
To:KeithJ.Keogh<keith@keoghlaw.com>;Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

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Will do today.

From:KeithJ.Keogh<keith@keoghlaw.com>
Sent:Wednesday,May27,202011:14AM
To:Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>;Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Pleaseforwardthemotionsowecanreview.




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www.KeoghLaw.com


From:ThomasDa@GTLAW.com<ThomasDa@GTLAW.com>
Sent:Friday,May22,20202:29PM
To:KeithJ.Keogh<keith@keoghlaw.com>;bryane@gtlaw.com
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

We have not drafted it yet. We will draft it assuming our stipulation is amenable to Sergei.


-------- Original message --------
From: "Keith J. Keogh" <keith@keoghlaw.com>
Date: 5/22/20 3:19 PM (GMT-05:00)
To: "Thomas, David G. (Shld-Bos-LT)" <ThomasDa@GTLAW.com>, "Bryan, Emily (Assoc-Bos-LT)"
<bryane@gtlaw.com>
Cc: slemberg@lemberglaw.com
Subject: RE: Breda/LiveVox Dialer Records, Schedule, etc.




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Pleaseforwardthemotion.IstillneedtodiscusswithSergei.



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Keith@KeoghLaw.com
www.KeoghLaw.com


From:ThomasDa@GTLAW.com<ThomasDa@GTLAW.com>
Sent:Friday,May22,20201:29PM
To:bryane@gtlaw.com;KeithJ.Keogh<keith@keoghlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

ThanksEmily.

Keith–pleaseconfirmthattherevisedversionworksforyouandwewillthendraftajointmotiontoextendthe
deadlinesforyourreview.

From:Bryan,Emily(AssocͲBosͲLT)
Sent:Friday,May22,20201:50PM
To:Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>;KeithJ.Keogh<keith@keoghlaw.com>
Cc:slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Keith,

Areviseddraftwithredlinesisattached.

Best,
Emily

From:Thomas,DavidG.(ShldͲBosͲLT)
Sent:Friday,May22,20201:38PM
To:KeithJ.Keogh<keith@keoghlaw.com>
Cc:Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>;slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

Okay. We will revise and also note that we are reserving our objections and that if, post production, you want
to move forward with the requests, you will give us written notice and we will have 10 days to
object/respond. Emily will circulate a revised draft. Thanks.

From:KeithJ.Keogh<keith@keoghlaw.com>
Sent:Friday,May22,20201:29PM
To:Thomas,DavidG.(ShldͲBosͲLT)<ThomasDa@GTLAW.com>

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Cc:Bryan,Emily(AssocͲBosͲLT)<bryane@gtlaw.com>;slemberg@lemberglaw.com
Subject:RE:Breda/LiveVoxDialerRecords,Schedule,etc.

*EXTERNALTOGT*

David,

Thestipshouldprovidethatthependingdiscoveryisstayedpendingtheproduction.I’mnotwillingtowithdrawituntil
Iseewhatisproduced.

Webothagreethatifitsproducedasrepresented,wedon’tneedthependingdiscovery.




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www.KeoghLaw.com


From:ThomasDa@GTLAW.com<ThomasDa@GTLAW.com>
Sent:Wednesday,May20,20204:33PM
To:KeithJ.Keogh<keith@keoghlaw.com>
Cc:bryane@gtlaw.com;slemberg@lemberglaw.com
Subject:Breda/LiveVoxDialerRecords,Schedule,etc.

Keith,

LiveVox should be able to start generating the Dialer Records next week and will be able to provide us with a rolling
production. They will not have a definitive answer on how long it will take to get all of the Dialer Records until
they generate and produce the first month of records. They will then know the run and download time associated
with getting the records. After that, with some rudimentary math, they should be able to give us an end date for the
full production.

We should get something filed with the Court sooner than later. Here is a suggestion:

    1. We deal with the discovery requests and LiveVox Dialer Records (and searching Verizon’s Account
       Remarks) via the draft stipulation attached. This will prevent further motion practice as discussed during
       our last call.

    2. We file a motion with the Court in response to the Court’s last order and graciously ask for additional
       time. We can explain our stipulation and the timing, much of which is beyond both parties’ control as the
       vast majority of data is in the possession of LiveVox, a third party. We should get this drafted so that we
       can plug in LiveVox’s end-date number when we get it. Also, we can explain that after the process of
       briefing the motion to show cause and the Court’s decision, we conferred about subsequent call data and
       the additional discovery requests and believe that a more fulsome production of the LiveVox Dialer Records
       is what the parties and the court need to assess the class certification issue. This of course will push off the
       deposition and briefing schedule, but I think we really have a good faith basis for doing so under the
                                                             8
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        circumstances. Also, the current schedule is not feasible considering COVID-19 and the state of emergency
        and I think we should mention this too in our motion.

Let us know what you think.

Sincerely,

David

David G. Thomas
Shareholder

Greenberg Traurig, LLP
One International Place | Suite 2000 | Boston, MA 02110
T +1 617.310.6040 | F +1 617.897.0940 | C +1 781.267.9614
ThomasDa@GTLAW.com | www.gtlaw.com | View GT Biography




Greenberg Traurig’s Health Emergency Preparedness Task Force
is a dedicated resource for clients facing the impact of COVID-19.
Click here to access the latest legal updates.




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




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




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




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




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  Case
Case   1:16-cv-11512-DJCDocument
     1:16-cv-11512-DJC    Document 102 Filed
                                 157-1 Filed 06/17/20
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        Case
      Case   1:16-cv-11512-DJCDocument
           1:16-cv-11512-DJC   Document  102 Filed
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
that paper copies will be sent all those non-registered participants on September 13, 2017.

                                             /s/ David G. Thomas
